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IN THE UNITED STATES DISTRICT COURT Ug 0? 2
FOR THE WESTERN DISTRICT OF NORTH CAROLINA W Pisr,, 02
ASHEVILLE DIVISION * Dig ‘Cp C
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Rupa Vickers Russe )
Check, Virginia, 24072 ) AMENDMENT TO
Plaintiff, ) PLAINTIFF’*S MEMORANDUM
Vv. ) IN SUPPORT OF MOTION TO SEAL,
) ISSUE A GAG ORDER, AND
Cindie Harman, ) FOR PROCEEDINGS TO OCCUR
500 Mountain View, ) UNDER ANONYMITY
Hot Springs, North Carolina 28743 )
Defendant. )

 

Plaintiff, Rupa Vickers Russe, pursuant to Federal Rules of Civil Procedure Rule 15(a),
respectfully submits this Amendment to her previously filed Memorandum of law in support of
her Motion to Seal the entire court record, Gag all parties and Conduct this Proceeding under
Veil of Anonymity until this court has rendered its final verdict.

Plaintiff seeks to correct the following drafting errors presented in Plaintiffs
Memorandum, as follows:

1. In Section IT (“Statement of Material Facts”), p.6, Plaintiff, due to a drafting error
included in her claims an incorrect assertion that Defendant had published the following
statement about Plaintiff:

“11. That Plaintiff has never filed for Bankruptcy, has never been charged with
assault of a child, or been charged with multiple assaults, and has never
been convicted of larceny or assault.”

Defendant has never made the aforementioned statement about Plaintiff; nor has she ever
recanted any of her false statements, including those about which are the subjects in the

aforementioned statement.

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2. In Section IV (“ii Physical Injury-Person”™), p.15, Plaintiff's memorandum stated,

“Plaintiff is most concernedwith physical harm and attacks on her reputation
as an Attomey that would in turn negatively impact Plaintiff’s law practice”

Plaintiff herein amends this staternent to include,

“; and the return of the physical symptoms Plaintiff suffered due to the
Defendant’s past actions and statements about Plaintiff, namely heart
palpitations and insomnia from anxiety.”

3. In Section V (“Sealing Documents”), p.16, Plaintiff amends this complaint to include
Exhibit 8, in support of Plaintiff’ statements “shared by the public locally”, which shows
local residents of Madison County sharing Defendant’s website posts on a popular social
media platform, Facebook.

4. In Section V, p.18, Plaintiff amends her argument to include the following bolded and
underlined words,

“Plaintiff requests that Defendant shall be placed under a gag order so that she
cannot disclose, discuss, publish information to third parties or new organizations
or share information about Plaintiff, Plaintiffs’ business, Plaintiff’s clients,
Plaintiff’s Attorney, or about this lawsuit except as relates to her communications
with her Attorneys and her witnesses; to the degree this court believes Plaintiff’s
security and freedom from harassment and intentional infliction of emotional
distress can be preserved. Additionally, Plaintiff requests that Defendant not have
access to Plaintiff’s new home address. Plaintiff voluntarily accepts to be bound

by the same restrictions towards Defendant.”

 

5. In Conclusion, p.18, Plaintiff aniends her statement to include attachment of Plaintiff’s
Exhibit 3 in reference to, “(Defendant’s false statements and signage, targeting and

harassing innocent non-party supporters of Plaintiff, see EXH 3)”.

Plaintiff respectfully submits these amendments to her Memorandum in support of her

Motion to Seal, Issue a Gag Order, and Proceed under Anonymity.

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Date: OF th day of October, 2021.

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